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                      Exhibit A
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SUMMARY OF RECENT, CURRENT, AND
UPCOMING PROJECTS BY SYMMETRY LABS


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Background on Symmetry Labs
   Founded in 2014 by Alexander Green on the notion of “playing light” like
    an instrument, Symmetry creates interactive design experiences utilizing
    custom-built LED hardware, controlled by proprietary light-mapping
    software.

   Alex has grown the business over the last four years to 25 to 30
    employees.

   In the past year alone, Symmetry has hired an estimated 100 people as
    contractors.

   Alex has one related patent issued in his name (US 9,942,970 B2
    “Method for Automatically Mapping Light Elements in an Assembly of
    Light Structures,” United States Patent and Trademark Office, April 10,
    2018) with several others in the pipeline.


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Symmetry’s Project Development
•   Symmetry works with companies, artists, cities and major real estate developers
    to design & build custom public art immersive experiences and installations.

•   These projects involve construction, engineering, electrical testing and connection,
    software debugging, 3D mapping over various elements and lighting
    programming, among other features.

•   Alex oversees these efforts and often works on location for extended periods to
    ensure that each element functions as advertised.

•   Despite thorough lab testing, the projects require on-the-ground oversight and
    troubleshooting to ensure a smooth performance. If the installations do not
    function properly, they can be pulled from the public, resulting in huge financial
    losses (and reputational damage) to Symmetry.




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Recent Project: Sea of Light (NYC)
                                       Sea of Light was inspired by the constellations
                                       and created as part of a revitalization of the
                                       Seaport District in Manhattan.

                                       The display used 150,000 individually
                                       programmable LEDs housed in spheres ranging
                                       up to nine feet in height. They were
                                       surrounded by thermal cameras that reacted
                                       to sound and movement patterns.

                                       The project required the team tracking the
                                       movement of individuals over a distance the
                                       size of a football field.

                                       Each sphere was made out of 10-by-10 sheets
                                       of acrylic that had to be carefully molded into
                                       spherical shapes.

                                       The installation was under tremendous time
                                       pressure, requiring Alex to move from design
                                       to engineering, to fabrication, to installation, all
                                       within approximately six weeks in the winter of
                                       2017-2018.
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Recent Project: Kalpa (Rochester, NY)
Kalpa, a programmable tree that responds to
sound, was donated by Symmetry to downtown
Rochester in connection with assistance from the
Rochester Contemporary Art Center. Kalpa also
served as a test project for a larger sculpture
commissioned by Norwegian art collector Stein
Erik Hagen for Oslo, Norway.

The project opened in November 2018 after
facing engineering challenges and delays, which
ultimately required Symmetry to replace all
12,000 leaves (and the individual LEDs on each)
on the tree.




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Current Project: Thousand Year Bloom
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(Honolulu, HI)
In December 2018 Symmetry launched its
largest project to date. The Thousand Year
Bloom is an interactive, illuminated garden
that mimics Hawaii’s natural beauty.

The Bloom is a full, life-size scale
impersonating Hawaii’s agriculture
landscape by using sensors and responding
to sound as well as to local weather
conditions such as wind, temperature and
humidity.

The Hawaii Symphony Orchestra performed
at the Bloom just before the holidays, and
the installation will remain up until February
2018. A video of the Bloom can be accessed
through slide 10 or on the Symmetry
Facebook page.




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Thousand Year Bloom: The Construction
 •   Symmetry’s largest and most expansive digital art
     installation to date.

 •   Uses a complex array of LEDs, custom and/or spec
     hardware frameworks and Symmetry’s proprietary
     3D pixel mapping software.

 •   Spans an area larger than a basketball court
     (approximately 9500 square feet) with more than
     25,000 LEDs hidden within over 2300 flowers.

 •   Each flower holds a unique LED circuit board
     wrapped in a polymer plastic shell that is custom
     made for the project.

 •   The LEDs in each flower form three sections: the
     petals, the fiber optic stamen and the base.

 •   The sensors are programmed to respond to various
     stimuli, such as sound, wind, and humidity.

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Thousand Year Bloom: The Prototyping
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Thousand Year Bloom: The Result




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Thousand Year Bloom: The Result




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Upcoming Project (Oslo, Norway)
Symmetry was recently commissioned by
Norwegian art collector Stein Erik Hagen to
create a new tree sculpture for installation in
downtown Oslo.

The Oslo tree is an updated version of the four-
story tall Tree of Ténéré (photo on the right),
Symmetry’s first tree sculpture. The Tree of
Ténéré was inspired by the most isolated tree on
earth and was installed at a 2017 art and music
festival in Black Rock Desert, Nevada.

The Oslo tree will have over 40,000 artificial
leaves with more than 200,000 LED lights.

The installation is slated to be placed next to the
City Hall building in Oslo.




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Upcoming Project: Design Specifications




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